                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRENT MORGAN,                             :
                                          : Civil Action No.
      Plaintiff                           : 21-cv-03557-ETH
                                          :
      v.                                  :
                                          :
ARION CAPITAL MANAGEMENT, LLC             :
                                          :
      And                                 :
                                          :
LARRY FRASCELLA                           :
                                          :
      Defendants                          :
__________________________________________:

                            SATISFACTION OF JUDGMENT

      Kindly mark the judgment entered in the above captioned case satisfied.



                                                  ________________________________
                                                  Michael J. Salmanson, ID. 46707
                                                  SALMANSON GOLDSHAW, P.C.
                                                  Two Penn Center, Suite 1230
                                                  1500 John F. Kennedy Boulevard
                                                  Philadelphia, PA 19102
                                                  215-640-0593
                                                  215-640-0596 (fax)




Dated: July 14, 2023
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRENT MORGAN,                             :
                                          : Civil Action No.
      Plaintiff                           : 21-cv-03557-ETH
                                          :
      v.                                  :
                                          :
ARION CAPITAL MANAGEMENT, LLC             :
                                          :
      And                                 :
                                          :
LARRY FRASCELLA                           :
                                          :
      Defendants                          :
__________________________________________:

                                CERTIFICATE OF SERVICE

       I, Michael J. Salmanson, Esquire, do hereby certify that I have served a true and correct

copy of the Satisfaction of Judgment by virtue of filing electronically via the Court’s Electronic

Document Filing System on July 14, 2023, upon the following counsel of record:

                              Thomas P. Muldoon, Jr., Esquire
                              Muldoon & Shields, LLC
                              1500 Walnut Street, Suite 500
                              Philadelphia, PA 19102

                              Attorney for Defendants, Arion Capital Management, LLC
                              And Larry Frascella



                                              _________________________________
                                              Michael J. Salmanson
                                              SALMANSON GOLDSHAW, P.C.
                                              Two Penn Center, Suite 1230
                                              1500 John F. Kennedy Boulevard
                                              Philadelphia, PA 19102
                                              215-640-0593
                                              215-640-0596 (fax)

Dated: July 14, 2023
